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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Yvonne Bell,

         Plaintiff,                                No. 23-cv-06522

 v.
                                                   Judge Jeffrey I. Cummings
 Illinois Department of Human Services,

         Defendant.

      DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        Defendant, the Illinois Department of Human Services (“Defendant” or “IDHS”), moves

to dismiss Plaintiff’s amended complaint, ECF No. 29, pursuant to Federal Rule of Civil Procedure

12(b)(6). In support of this motion, Defendant states as follows:

        1.      Plaintiff’s original pro se complaint was filed on December 19, 2023. ECF No. 12.

After retaining counsel, Plaintiff filed the now-operative amended complaint on April 29, 2024.

ECF No. 29. The amended complaint purports to assert a single claim for retaliation under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. Id.

        2.      Plaintiff’s amended complaint should be dismissed for two reasons. First, Plaintiff

failed to exhaust her administrative remedies to support any claim under Title VII. Second,

Plaintiff’s claim is facially defective. Accordingly, the amended complaint should be dismissed

pursuant to Rule 12(b)(6).

        3.      In support of this motion, Defendant submits a memorandum of law, setting forth

the reasons Plaintiff’s amended complaint should be dismissed. Defendant adopts the arguments

set forth in its memorandum in support of this motion.
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     For these reasons, Plaintiff’s amended complaint, ECF No. 29, should be dismissed.



May 17, 2024                                    Respectfully submitted,

KWAME RAOUL
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